                        Case
                         Case1:19-cv-01038-LY
                               1:19-cv-01038 Document
                                              Document2 3 Filed
                                                            Filed
                                                                10/23/19
                                                                  10/24/19 Page
                                                                            Page11
                                                                                 ofof
                                                                                    44

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                       WesternDistrict
                                                   __________  Districtofof__________
                                                                            Texas


              HECTOR DANIEL GARCIA,                                )
              HECTOR IVAN GARCIA, and                              )
             FLORIDALMA FELIPE GARCIA                              )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. 1:19-cv-01038 -LY
                                                                   )
            COCO'S CLEANING, LLC, d/b/a                            )
        INDUSTRY CLEANING SOLUTIONS, and                           )
              NICHOLAS BORDELON                                    )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) COCO'S CLEANING, LLC d/b/a INDUSTRY CLEANING SOLUTIONS
                                           REGISTERED AGENT: RONALD W. MEYER, PLLC
                                           4401 W 15TH STREET, STE 850
                                           AUSTIN, TX 78701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: CAITLIN BOEHNE
                                           EQUAL JUSTICE CENTER
                                           510 S. CONGRESS AVE., STE. 206
                                           AUSTIN, TX 78704



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:      10/24/19
                                                                                        Signature of Clerk or Deputy Clerk
                          Case
                           Case1:19-cv-01038-LY
                                 1:19-cv-01038 Document
                                                Document2 3 Filed
                                                              Filed
                                                                  10/23/19
                                                                    10/24/19 Page
                                                                              Page22
                                                                                   ofof
                                                                                      44

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:19-cv-01038

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                    , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                            ; or

               Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                        Case
                         Case1:19-cv-01038-LY
                               1:19-cv-01038 Document
                                              Document2 3 Filed
                                                            Filed
                                                                10/23/19
                                                                  10/24/19 Page
                                                                            Page33
                                                                                 ofof
                                                                                    44

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                       WesternDistrict
                                                   __________  Districtofof__________
                                                                            Texas


              HECTOR DANIEL GARCIA,                                )
              HECTOR IVAN GARCIA, and                              )
             FLORIDALMA FELIPE GARCIA                              )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. 1:19-CV-01038 -LY
                                                                   )
            COCO’S CLEANING, LLC, d/b/a                            )
        INDUSTRY CLEANING SOLUTIONS, and                           )
              NICHOLAS BORDELON                                    )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) NICHOLAS BORDELON
                                           2909 TEMPE DRIVE
                                           LEANDER, TEXAS 78641




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: CAITLIN BOEHNE
                                           EQUAL JUSTICE CENTER
                                           510 S. CONGRESS AVE., STE. 206
                                           AUSTIN, TX 78704



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:      10/24/19
                                                                                        Signature of Clerk or Deputy Clerk
                          Case
                           Case1:19-cv-01038-LY
                                 1:19-cv-01038 Document
                                                Document2 3 Filed
                                                              Filed
                                                                  10/23/19
                                                                    10/24/19 Page
                                                                              Page44
                                                                                   ofof
                                                                                      44

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:19-CV-01038

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
